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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION



STATE OF GEORGIA, et al.,                             No. 2:15-cv-00079 LGW-RSB

               Plaintiffs,
       v.

ANDREW WHEELER, in his official
capacity as Acting Administrator, U.S.
Environmental Protection Agency, et al.,

               Defendants.



             DEFENDANTS’ OPPOSITION TO INTERVENOR PLAINTIFFS’
                 MOTION TO AMEND PRELIMINARY INJUNCTION


       Defendants, the United States Environmental Protection Agency (“EPA”), its Acting

Administrator, the United States Army Corps of Engineers (“Army” or “Corps”), and the

Assistant Secretary for the Army (Civil Works) (together, “Defendants” or “the Agencies”)

hereby oppose Intervenor Plaintiffs’ motion to amend this Court’s Order of June 8, 2018, in

which the Court preliminarily enjoined the 2015 rule revising the definition of “waters of the

United States” 1 in the eleven Plaintiff States. (ECF No. 174). Although it is unclear whether

Intervenor Plaintiffs are moving pursuant to Federal Rule of Civil Procedure 59 or 60 (or some

other basis), even if they were to file a separate motion for a preliminary injunction, their request

for nationwide relief should be denied.




1
  See Clean Water Rule: Definition of ‘Waters of the United States,’ 80 Fed. Reg. 37,054 (June
29, 2015) (“2015 Rule” or “Rule”).
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       As Defendants explained when responding to the Plaintiff States’ motion for a

preliminary injunction earlier this year, “[a] nationwide injunction would be contrary to

principles of Article III standing, strain the limits of this Court’s equitable authority, and thwart

important policies underlying a regional court system.” Defendants’ Updated Response to the

Motion for Preliminary Injunction (May 9, 2018) (ECF No. 154-1), at 10. Nothing in Intervenor

Plaintiffs’ motion changes these conclusions, and Defendants incorporate by reference the last

section of their prior brief opposing a nationwide injunction. Id. at 10-13. Further, Intervenor

Plaintiffs have not even demonstrated that they have members in every state and territory not

covered by this Court’s or another court’s preliminary injunction, and moreover that those

members are suffering irreparable and cognizable harm in specific contexts absent a more

expansive preliminary injunction. In no event, however, are Intervenor Plaintiffs entitled to a

preliminary injunction of the 2015 rule that reaches non-parties. Any expanded preliminary

injunction issued by this Court should be limited to the parties to this case and the irreparable

harms they prove.

                                         BACKGROUND

       Intervenor Plaintiffs sought intervention in this case on June 29, 2018 (ECF No. 178),

shortly after this Court granted Plaintiff States’ motion for a preliminary injunction (ECF No.

174 (Order of June 8, 2018)). Since the Court granted the motion for intervention on July 10,

2018, twelve of the seventeen Intervenor Plaintiffs have actively litigated their challenges to the

2015 rule both in this Court and in the Southern District of Texas. See American Farm Bureau

Fed’n v. EPA, No. 3:15-cv-165 (S.D. Tex.) (consolidated with Texas v. EPA, No. 3:15-cv-162




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(S.D. Tex.). 2 On September 12, 2018, the Southern District of Texas court preliminarily

enjoined the 2015 Rule in Texas, Louisiana, and Mississippi, but denied without prejudice the

preliminary injunction motions to the extent that they sought a nationwide scope. Am. Farm

Bureau Fed’n, No. 3:13-cv-165, ECF No. 87 at 3 (“[T]he Court finds it inappropriate to issue a

nationwide preliminary injunction in this case” “without prejudice to the Court’s reconsideration

of this issue based on future decisions and developments in this case.”). Intervenor Plaintiffs

then filed their motion to amend or clarify this Court’s June 8, 2018 Order granting a preliminary

injunction. (ECF No. 208). In conjunction with their motion, Intervenor Plaintiffs have filed

three categories of declarations by representatives or members of some of the Intervenor

Plaintiffs’ organizations: (1) declarations signed in 2016 and filed with the Sixth Circuit (ECF

No. 208-5, Ex. E); (2) declarations signed in early 2018 and filed with the Southern District of

Texas (ECF No. 208-6, Ex. F); and (3) declarations signed within the past month (ECF No. 208-

4, Ex. D).

                                          ARGUMENT

       With narrow exceptions, nationwide injunctions are contrary to principles of Article III

standing, strain the limits of this Court’s equitable authority, and thwart important policies

underlying a regional court system. (ECF No. 154-1 at 10-13). The Ninth Circuit recently

reiterated that nationwide injunctions are limited to “exceptional cases,” vacating one as

insufficiently supported. City and County of San Francisco v. Trump, 897 F.3d 1225, 1244 (9th

Cir. 2018). And Justice Thomas voiced concerns about nationwide injunctions in Trump v.

Hawaii:


2
  Plaintiff Intervenors American Forest & Paper Association, Georgia Association of
Manufacturers, Georgia Farm Bureau Federation, National Stone, Sand, and Gravel Association,
and U.S. Poultry & Egg Association are not plaintiffs in the Southern District of Texas matter.


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        “District courts . . . have begun imposing universal injunctions without
        considering their authority to grant such sweeping relief. These injunctions are
        beginning to take a toll on the federal court system—preventing legal questions
        from percolating through the federal courts, encouraging forum shopping, and
        making every case a national emergency for the courts and for the Executive
        Branch. I am skeptical that district courts have the authority to enter universal
        injunctions. These injunctions did not emerge until a century and a half after the
        founding. And they appear to be inconsistent with longstanding limits on
        equitable relief and the power of Article III courts.”

138 S. Ct. 2392, 2425 (2018) (Thomas, J., concurring).

        Intervenor Plaintiffs’ motion fails to demonstrate that a nationwide preliminary injunction

is warranted here.

I.      Intervenor Plaintiffs have not demonstrated nationwide irreparable and cognizable
        harm.

        In seeking to expand this Court’s preliminary injunction to one that applies nationwide

(or otherwise beyond the borders of the 11 Plaintiff States), Intervenor Plaintiffs do not justify

the broad relief they seek. First, as any preliminary injunction movant, they must establish

irreparable harm. United States v. Jenkins, 714 F. Supp. 2d 1213, 1221 (S.D. Ga. 2008) (citing

Winter v. NRDC, Inc., 555 U.S. 7, 22 (2008)). Moreover, in terms of the geographic scope of

preliminary relief, absent more, this Court lacks jurisdiction to issue a nationwide injunction.

Article III of the Constitution “limits the jurisdiction of federal courts to ‘Cases’ and

“Controversies’ . . . .” Lujan v. Defs. of Wildlife, 504 U.S. 555, 559 (1992). That limitation

restricts judicial power “to redress[ing] or prevent[ing] actual or imminently threatened injury to

persons caused by private or official violation of law.” Summers v. Earth Island Inst., 555 U.S.

488, 492 (2009). Thus, even when irreparable harm is shown, courts lack authority to grant

relief that does more than redressing actual or imminently threatened injuries suffered by parties

to the case.




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       To establish standing, the plaintiff bears the burden of establishing that “he is under

threat of suffering ‘injury in fact’ that is concrete and particularized; the threat must be actual

and imminent, not conjectural or hypothetical”; and the injury must be caused by the defendant’s

challenged action and be redressable. Id. at 493. Importantly, the plaintiff must have standing

“for each type of relief sought.” Id. Here, because Intervenor Plaintiffs seek a nationwide

preliminary injunction—relief that, according to the terms of Intervenor Plaintiffs’ request,

would apply beyond the borders of the 11 Plaintiff States to reach the entire country—they must

show (inter alia) that their members suffer cognizable injuries over that full geographic span.

See Lewis v. Casey, 518 U.S. 343, 357 (1996) (“The remedy must of course be limited to the

inadequacy that produced the injury in fact that the plaintiff has established.”). 3

       There is another reason why injunctive remedies should be narrowly tailored. An

injunction is an equitable remedy, and like all equitable relief, has traditionally been limited to

determining the rights of the parties before the court. See U.S. Dep’t of Def. v. Meinhold, 510

U.S. 939 (1993) (staying injunction that grants relief to persons other than plaintiff); Los Angeles

Haven Hospice v. Sebelius, 638 F.3d 644, 665 (9th Cir. 2011) (vacating nationwide injunction as

“too broad” when a narrower one would have given plaintiff “complete relief”). So any relief

this Court grants can “‘be no more burdensome to the defendant than necessary to provide

complete relief’” to Intervenor Plaintiffs. Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753,

765 (1994) (quoting Califano v. Yamasaki, 442 U.S. 682, 702 (1979)).




3
  Intervenor Plaintiffs appear to rely on organizational standing in their motion. See ECF No.
208 at 3 (discussing injuries to their members rather than to themselves as organizations). They
may establish standing on that basis only if and to the extent that, among other things, their
individual members have standing. See Hunt v. Wash. State Apple Advertising Comm’n, 432
U.S. 333, 343 (1977).


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       Intervenor Plaintiffs have submitted a series of declarations in support of their motion.

However, none establishes the requisite irreparable and concrete harm, see Lujan, 504 U.S. at

560, let alone shows that such cognizable injury is occurring all over the country.

       First, the following set of Intevenor Plaintiffs’ declarations is stale and lacks facial

probative value: the declarations submitted in 2016 to the Sixth Circuit (ECF No. 208-5, Ex. E).

These declarations are outdated and, even if they were up to date, would purport to support only

standing. At the time of these declarations, the Sixth Circuit had already stayed the 2015 rule

nationwide, and it was neither the purpose nor the effect of those declarations to show irreparable

harm. 4 Accordingly, because irreparable harm is an essential element of any preliminary

injunction, these declarations on their face do not support Intervenor Plaintiffs’ motion.

       Next, the declarations signed in early 2018 and submitted to the Southern District of

Texas are similarly deficient (ECF No. 208-6, Ex. F). Although these declarants (representatives

of certain party organizations) generally allege that they have members located throughout the

United States, they fail to identify any individual member; fail to allege that any specific member

is being harmed by the 2015 rule; and fail to allege that such harm is occurring in any specific

location or context. See Ex. F at 3-5, Declaration of the Vice President of the National

Association of Manufacturers, Ross Evan Eisenberg; Ex. F at 7-8, Declaration of the Senior

Director for Regulatory and Scientific Affairs at the American Petroleum Institute, Howard J.

Feldman; Ex. F at 10-15, Declaration of the Senior Director of Regulatory Affairs at the

American Farm Bureau, Don Parrish. Thus, these declarations fail to support Intervenor


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 Indeed, many of these declarants are located in states where the 2015 rule is already enjoined.
See, e.g., Ex. E at 9a, Declaration of Tim Canterbury (Texas); Ex. E at 11a, Declaration of Jim
Chilton (Arizona); Ex. E at 16a, Declaration of Caren Cowan (New Mexico); Ex. E at 31a,
Declaration of Terrance W. Cundy (Idaho); Ex. E at 82a, Declaration of Kent Mann (Idaho); Ex.
E at 105a, Declaration of Jeff Norwood (Texas).


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Plaintiffs’ motion. See Georgia Republican Party v. SEC, 888 F.3d 1198, 1203 (11th Cir. 2018)

(“[plaintiff] has failed to allege that a specific member will be injured by the rule”).

       Third, Intervenor Plaintiffs’ recent declarations (ECF No. 208-4, Ex. D) are also facially

deficient. Two of these declarations pertain to states where the 2015 rule is already enjoined;

i.e., the declarations from Robert Reed, a Texas farmer (Ex. D at A-15 to A-17), and Janet Price,

the environmental manager of a forestry company, Rayonier Inc., which operates in, among

other states, Alabama, Florida, Georgia, Louisiana, Mississippi, South Carolina, and Texas (Ex.

D at A-12 to A-14). Neither Mr. Reed nor Rayonier could possibly be suffer irreparable harm in

these seven states, given that the 2015 rule has been preliminarily enjoined by either this Court

or the Southern District of Texas in all those places.

       Further, the declarations from representatives of the National Stone, Sand, and Gravel

Association (Emily Coyner, Senior Director, Environmental Policy & Regulatory Affairs, Ex. D

at A-1 to A-4); the National Association of Manufacturers (Ross Evan Eisenberg, Vice President

of Energy and Resources Policy, Ex. D at A-5 to A-7); the American Farm Bureau (Don Parrish,

Senior Director of Regulatory Affairs, Ex. D at A-9 to A-11); and the National Association of

Home Builders (Thomas Ward, Ex. D at A-21 to A-24) contain none of the details essential to

establishing standing. In particular, they “do[] not identify any particular site” that would be

affected by the 2015 rule; they do not identify any “firm intention” that someone would act in a

way that implicates the rule; and they do not “identif[y] [any] member[s] who ha[ve] suffered or

would suffer harm . . . .” Summers, 555 U.S. at 498. The allegations are too general to establish

concrete and particularized injuries that are actual and imminent in any location. And they most

certainly do not allege injuries that warrant nationwide preliminary relief.




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       Only two declarants even purport to identify locations where, they allege, they are

suffering harm, and these locations are in states are currently subject to the 2015 rule (i.e., where

the 2015 rule is not enjoined by a court). Rayonier owns land in Oklahoma, 5 Oregon, and

Washington (Ex. D at A-12), and Jeff Slaven owns a farm in Virginia (Ex. D at A-18 to A-20).

But Rayonier’s averments are deficient because its representative (Ms. Price) does not even

name any “particular . . . project claimed to be unlawfully subject to the” 2015 rule. Summers,

555 U.S. at 495. With respect to Mr. Slaven, although he voices concern that some of his

activities may involve discharges of pollutants to “waters of the United States” under the 2015

rule (Ex. D at A-18 to A-19), that concern, without more, is mere conjecture. That allegation

does not constitute a well-pleaded fact that shows actual or imminently threatened injury. See

Summers, 555 U.S. at 495 (“There may be a chance, but [it] is hardly a likelihood” of injury).

       Finally, Intervenor Plaintiffs generally argue, detached from any supporting declaration,

that the “geographic inconsistency in the current regulatory scheme” warrants an injunction with

nationwide effect. (ECF No. 208 at 14). To illustrate, they imagine a wetland straddling the

border between Virginia (where the 2015 Rule applies) and North Carolina (where it is


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  The State of Oklahoma and a coalition of business groups are currently seeking to
preliminarily enjoin the 2015 rule in Oklahoma. See Oklahoma v. EPA, No. 4:15-cv-381 (N.D.
Okla.); Chamber of Commerce of the United States, No. 4:15-cv-386 (N.D. Okla.). In a separate
action, the States of Ohio, Michigan, and Tennessee seek a preliminary injunction throughout
their borders. See Ohio v. EPA, No. 2:15-cv-2467 (S.D. Ohio). The pendency of these actions
highlights another reason why nationwide relief is unwarranted here. As the Agencies
previously explained (ECF No. 154-1 at 12), “courts ordinarily should not award injunctive relief
that would encroach upon another court’s jurisdiction to decide a matter.” It would be contrary
to the principles of sound judicial administration and comity among federal courts of equal rank
for this Court to conclude that its order should be given effect in the states that brought suit in
other district courts only to have their motions to enjoin the 2015 Rule either denied or deferred
upon consideration by those courts. See Va. Soc’y for Human Life, Inc. v. FEC, 263 F.3d 379,
393 (4th Cir. 2001) (rejecting nationwide injunction because, among other reasons, it
“preclude[d] other circuits from ruling” on issue), overruled on other grounds by The Real Truth
About Abortion, Inc. v. FEC, 681 F.3d 544 (4th Cir. 2012).


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enjoined), and contend that there, it would be “almost impossible to sort out which regulatory

regime applies.” Id. Notably, however, no declarant gives a specific example of a cross-border

scenario that impacts them directly. Thus, this scenario remains mere conjecture and does not

support the relief requested.

        In the end, Intervenor Plaintiffs have failed to show that they meet any narrow exception

to the multitude of reasons why a nationwide preliminary injunction should not be issued.

Intervenor Plaintiffs have not demonstrated irreparable harm, shown a cognizable injury in fact,

or established the requisite standards in all the states in which they seek a preliminary injunction.

This Court thus should not grant Intervenor Plaintiffs’ motion for a nationwide injunction.

II.     Alternatively, any expansion of the preliminary injunction should be limited to the
        parties and the irreparable harms they prove.

        In no event are these Intervenor Plaintiffs entitled to an expanded preliminary injunction

of the 2015 rule that reaches the entire states of non-parties. At most, any expansion of the

preliminary injunction issued by this Court should be limited to the parties to this case and the

irreparable harms they establish.

        As the Agencies previously explained (ECF No. 154-1 at 11), “equitable principles

require that injunctions ‘be no more burdensome to the defendant than necessary to provide

complete relief to the plaintiffs.’” (Quoting Califano, 442 U.S. at 702, and citing Keener v.

Convergys Corp., 342 F.3d 1264, 1269 (11th Cir. 2003), which states that an injunction “should

be tailored to restrain no more than what is reasonably required to accomplish its ends.”). Here,

although all of the Intervenor Plaintiffs’ declarations are deficient (as explained above), the most

that Intervenor Plaintiffs could conceivably show is that they have members suffering irreparable

and cognizable injury somewhere in three states: Oregon, Washington, and Virginia. See supra

at 8 & n.5. These are states where no preliminary injunction already exists or is being sought.

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Importantly, neither of these declarants (i.e., neither Ms. Price for Rayonier nor Mr. Slaven)

claims to be injured in all states where the Intervenor Plaintiffs seek to expand the scope of this

Court’s preliminary injunction.

                                         CONCLUSION

       This Court should deny Plaintiff Intervenors’ motion for a nationwide preliminary

injunction (ECF No. 208).

Dated: October 10, 2018                       Respectfully submitted,

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